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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                                TYLER DIVISION



THE DAILY WIRE, LLC et al.,

             Plaintiffs,

      v.                                                Civil Action No. 6:23-cv-00609 (JDK)

UNITED STATES DEPARTMENT
OF STATE et al.,

             Defendants.


                                    [PROPOSED] ORDER

      Upon consideration of Plaintiffs’ motion for expedited discovery, it is hereby:

      ORDERED that Plaintiffs’ motion is DENIED.




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